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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC., and
MERCK SHARP & DOHME LLC,

                   Plaintiffs,
                                                          Civ. No. 1:23-01615 (CKK)
       v.

XAVIER BECERRA, U.S. Secretary of Health &
Human Services, et al.

                   Defendants.


     RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs (Merck) respectfully respond to Defendants’ notice of supplemental authority

(ECF No. 70) regarding Boehringer Ingelheim Pharmaceuticals, Inc. v. HHS (D. Conn.) (BI).

The BI decision does involve the same claims as this case, but the court’s ruling was wrong.

       As to the Takings Clause, the BI court held that a manufacturer’s option to withdraw all of

its drugs from both Medicare and Medicaid rendered the Program “voluntary” and thus immune

from constitutional scrutiny. Op. 21-30. But that categorical approach is irreconcilable with the

Supreme Court’s unconstitutional conditions doctrine, which limits Congress’s power to require

the surrender of constitutional rights as a condition of a “voluntary” program. See Sheetz v. Cnty.

of El Dorado, 601 U.S. 267, 273-75 (2024); Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S.

595, 604 (2013); Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 674, 581-85 (2012); Nollan

v. Cal. Coastal Comm’n, 483 U.S. 825, 834-37 (1987). As Merck has explained, the Program fails

that doctrine for a host of reasons. ECF No. 23 at 35-48. The BI court believed its contrary holding

was compelled by Second Circuit precedent. Op. 26 (“I am required to follow Second Circuit

precedent unless and until it is overruled . . .” (cleaned up)). Even if so, D.C. Circuit precedent

supports Merck. See Valancourt Books, LLC v. Garland, 82 F.4th 1222 (D.C. Cir. 2023).
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       As to the First Amendment, BI held that the Program’s compelled “agreements” are merely

incidental burdens on speech. Op. 31. Not so. The “agreements” are directly mandated by statute

and reflect an important part of the Government’s campaign to win public support. See ECF No.

23 at 26-33. Notably, BI was unable to explain why Congress structured the Program in such a

circuitous way—instead of just giving CMS the authority to set prices and mandate sales—if not

to falsely suggest to the public that the manufacturers had consented to the Program.

       With BI now decided, every other court handling a similar challenge to the Program—all

of which were filed after this one—has issued a merits or other dispositive ruling. The District of

Delaware agreed to, and did, adjudicate a challenge to the Program by March 1, 2024. AstraZeneca

Pharms. LP v. Becerra, No. 23-cv-931, 2024 WL 895036 (D. Del.). The District of New Jersey

resolved two parallel challenges roughly 4 months after briefing concluded; the resulting appeal is

already underway. Bristol Myers Squibb Co. v. Becerra, et al., No. 23-cv-3335 (D.N.J Apr. 29,

2024), appeal pending, No. 24-1820 (3d Cir.). And BI was resolved less than two weeks after oral

argument. Merck respectfully requests that this Court give priority consideration to resolving this

case as soon as practicable so that the Program’s constitutionality can be adjudicated by the D.C.

Circuit and Supreme Court before its regime of forced sales takes full effect in 2026.

Dated: July 17, 2024                         Respectfully submitted,

                                             /s/ Yaakov M. Roth
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